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 8                        United States District Court
 9                        Central District of California
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11   Pacific Packaging Concepts, Inc.,           Case LA CV 19-04755-ODW(Ex)
12
                                                 SCHEDULING AND CASE
13                                 Plaintiff,    MANAGEMENT ORDER
14         v.                                    (JURY TRIAL)
15   Nutrisystem, Inc., et al.,
16                                Defendant
                                                 FOR CASES ASSIGNED TO JUDGE
17                                               OTIS D. WRIGHT, II
18
19
20
21         This Order is to advise the parties and counsel of the schedule that will govern
22   this case. THE SCHEDULING CONFERENCE IS VACATED. SEE THE LAST
23   PAGE OF THIS ORDER FOR THE SPECIFIED DATES.                         These dates and
24   requirements are firm. The Court is unlikely to grant continuances unless the parties
25   establish good cause through a concrete showing. Failure to complete discovery in a
26   timely manner does not constitute good cause, nor does the fact that a settlement
27   conference is pending. Each side is limited to five motions in limine unless the Court
28   orders otherwise.
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 1   ///
 2   ///
 3   IT IS HEREBY ORDERED:
 4         1.     To secure the just, speedy, and inexpensive determination of every action,
 5   all counsel are ordered to familiarize themselves with and follow the Federal Rules of
 6   Civil Procedure and the Local Rules of the Central District of California. This Court
 7   follows these rules and they will govern this litigation unless otherwise provided in this
 8   Order.
 9         2.     Because this Order in some respects modifies or adds to the Local Rules,
10   counsel are advised to read it carefully. Counsel are advised to pay particular attention
11   to the requirements of the Court with respect to the filing of motions for summary
12   judgment and documents to be submitted at the Final Pretrial Conference and Trial.
13         3.     The attorney attending any proceeding before this court must be an
14   attorney who is thoroughly knowledgeable about the case, responsible for the conduct
15   of the litigation, and who has authority to enter into stipulations and to make admissions
16   regarding all matters that the participants reasonably anticipate may be discussed. Lead
17   counsel who will actually try the case must attend the Pretrial Conference. A party who
18   is not represented must attend all proceedings in person.
19         4.     Courtesy Copies: One mandatory chambers copy of all filed documents.
20   Chambers copies shall be delivered to and placed in the Judge’s courtesy box, located
21   outside of the Clerk’s office on the 4th floor. Chambers copies of under seal documents
22   shall be placed together in a manilla envelope labeled “UNDER SEAL”.
23         Courtesy copies DO NOT need to be blue-backed. All courtesy copies of
24   pretrial documents (e.g. witness lists, exhibit lists, pretrial conference orders, jury
25   instructions, etc.) shall be three-hole punched.
26         5.     Discovery Cut-Off: Percipient and expert discovery shall be completed
27   by the discovery cut-off dates specified on the last page of this Order. THIS IS NOT
28   THE DATE BY WHICH DISCOVERY REQUESTS MUST BE SERVED; IT IS




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 1   THE DATE BY WHICH ALL DISCOVERY IS TO BE COMPLETED.
 2         Any motion challenging the adequacy of responses to discovery must be heard
 3   sufficiently in advance of the discovery cut-off date to permit the responses to be
 4   obtained before that date if the motion is granted. In an effort to provide further
 5   guidance to the parties, the Court notes the following:
 6                a.     Depositions: All depositions shall be scheduled to commence
 7   sufficiently in advance of the discovery cut-off date to permit their completion and to
 8   permit the deposing party enough time to bring any discovery motions concerning the
 9   deposition prior to the cut-off date.
10                b.     Written Discovery: All interrogatories, requests for production of
11   documents, and requests for admissions shall be served sufficiently in advance of the
12   discovery cut-off date to permit the discovering party enough time to challenge (via
13   motion practice) responses deemed to be deficient.
14                c.     Discovery Motions: Whenever possible, the Court expects the
15   parties to resolve discovery issues among themselves in a courteous, reasonable, and
16   professional manner. The Magistrate Judge assigned to this case will rule on discovery
17   motions. (The Magistrate Judge’s initials follow the district judge's initials next to the
18   case number on the first page of this Order.) Counsel are directed to contact the
19   Magistrate Judge’s courtroom deputy clerk (CRD) to schedule a hearing on any
20   discovery related matters.     Counsel should not deliver courtesy copies of these
21   discovery documents to this Court.
22                d.     Expert Discovery: If expert witnesses are to be called at trial, the
23   parties shall designate affirmative experts to be called at trial and provide reports
24   required by Federal Rule of Civil Procedure 26(a)(2)(B) not later than eight weeks prior
25   to the expert discovery cut-off date. Rebuttal expert witnesses shall be designated and
26   reports provided as required by Rule 26(a)(2)(B) not later than five weeks prior to the
27   expert discovery cut-off date. Failure to timely comply with deadlines may result in the
28   expert being excluded as a trial witness.




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 1         6.     Motions and Motion Cut-Off Date
 2                a.     General Provisions:      All law and motion matters, except for
 3   motions in limine, must be set for hearing (not filed) by the motion cut-off date specified
 4   on the last page of this Order. This Court hears motions in civil matters on Mondays
 5   at 1:30 p.m. The parties must adhere to the requirements of the Local Rules. See Local
 6   Rules 7-1 et seq. If any party does not oppose a motion, that party shall submit a written
 7   statement that it does not oppose the motion in accordance with Local Rule 7-9. The
 8   parties should note that failure to meet the time limits for filing an opposition set forth
 9   in Local Rule 7-9 shall be deemed consent to the granting of the motion. See Local
10   Rule 7-12.
11         The title page of all motions must state the Pre-Trial Conference date and the
12   Trial date. Counsel must comply with Local Rule 7-3, which requires counsel to engage
13   in a pre-filing conference “to discuss thoroughly . . . the substance of the contemplated
14   motion and any potential resolution.”
15         Issues left undetermined after the passage of the motion cut-off date should be
16   listed as issues for trial in the Final Pre-Trial Conference Order. As an exception to the
17   above, motions in limine dealing with evidentiary matters may be heard pursuant to the
18   schedule specified on the last page of this Order.
19                b.     Meeting and Conferring: The Parties are required to meet and
20   confer with opposing counsel prior to the filing of a motion or ex parte application under
21   Local Rule 7-3. The Court notes that is the responsibility of both parties to meet and
22   confer in good faith on any disputed issues. The Court will impose sanctions, including
23   monetary sanctions and/or the summary denial of a motion, if either party fails to meet
24   and confer in good faith or fails to reasonably narrow the issues in dispute.
25                c.     Ex Parte Applications: Ex parte practice is discouraged. See
26   Mission Power Eng’g v Co. v. Continental Cas. Co., 883 F. Supp. 488 (C.D. Cal. 1995).
27   The Court will require strict adherence to proper ex parte procedures for any ex parte
28   application filed with the Court. Id. at 492; see also Judge Wright’s Standing Order and




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 1   Local Rule 7-19. Any opposition to an ex parte application must be filed within 24
 2   hours. Failure to submit a timely opposition constitutes consent to the granting of the
 3   application. See Local Rule 7-12. No party may file a reply unless expressly authorized
 4   by the Court. All ex parte applications will be decided on the papers and without a
 5   hearing unless the Court orders otherwise.
 6                d.      Applications and Stipulations to Extend Time: Applications to
 7   extend the time to file any required document or to continue any hearing, Pre-Trial
 8   Conference, or Trial date must set forth the following:
 9                (i)     The existing due date or hearing date, as well as the discovery cut-
10                        off date, the Pre-Trial Conference date, and the Trial date;
11                (ii)    Specific, concrete reasons supporting good cause for granting the
12                        extension; and
13                (iii)   Whether there have been prior requests for extensions, and whether
14                        these requests were granted or denied by the Court.
15         The parties are cautioned that the Court will not necessarily grant an extension or
16   continuance simply because all parties have stipulated to it.
17                e.      Joinder of Parties and Amendment of Pleadings: The deadline
18   for joining parties and amending pleadings is set forth on the last page of this Order.
19   Any motions to join other parties or for leave to amend the pleadings shall be set for
20   hearing on before this date. If any party moves to amend a pleading after this date, they
21   must address the propriety of amendment under Johnson v. Mammoth Recreations, Inc.,
22   975 F.2d 604 (9th Cir. 1992).
23         In addition to the requirements of Local Rule 15-1, all motions to amend the
24   pleadings shall: (1) state the effect of the amendment; (2) be serially numbered to
25   differentiate the amendment from previous amendments; and (3) state the page, line
26   number(s), and wording of any proposed change or addition of material. The parties
27   shall deliver to Chambers a redlined version of the proposed amended pleading
28   indicating all additions and deletions of material.




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 1                f.     Summary Judgment Motions: Parties need not wait until the
 2   motion cutoff to bring motions for summary judgment or partial summary judgment.
 3   Early completion of non-expert discovery and filing of motions for summary judgment
 4   may eliminate or reduce the need for expensive expert depositions that are normally
 5   conducted in the last stages of discovery. However, the Court requires that the party
 6   moving for summary judgment will provide no less than thirty-five (35) days’
 7   notice for such motions. Because summary judgment motions are fact-dependent,
 8   parties should prepare papers in a fashion that will assist the Court in absorbing the
 9   mass of facts (e.g., generous use of tabs, tables of contents, headings, indices, etc.). The
10   parties are to comply precisely with Local Rule 56-1 through 56-4. The Court will also
11   require adherence to the following requirements:
12                (i)    Statement of Uncontroverted Facts and Statement of Genuine Issues
13                       of Material Fact
14         The movant’s Separate Statement of Uncontroverted Facts is to be prepared in a
15   two column format. The left-hand column should set forth the allegedly undisputed
16   fact. The right-hand column should set forth the evidence that supports the factual
17   statement.   The factual statements should be set forth in sequentially numbered
18   paragraphs. Each paragraph should contain a narrowly focused statement of fact. Each
19   numbered paragraph should address a single subject in as concise a manner as possible.
20         The opposing party’s Statement of Genuine Issues of Material Fact must be in
21   two columns and track the movant's Separate Statement exactly as prepared. The
22   document must be in two columns; the left-hand column must restate the allegedly
23   undisputed fact, and the right-hand column must indicate either undisputed or disputed.
24   The opposing party may dispute all or only a portion of the statement, but if disputing
25   only a portion, must clearly indicate what part is being disputed. Where the opposing
26   party is disputing the fact in whole or part, the opposing party must, in the right-hand
27   column, label and restate the moving party’s evidence in support of the fact, followed
28   by the opposing party’s evidence controverting the fact. Where the opposing party is




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 1   disputing the fact on the basis of an evidentiary objection, the party must cite the
 2   evidence alleged to be objectionable and state the ground of the objection and nothing
 3   more. No argument should be set forth in this document.
 4         The opposing party may submit additional material facts that bear on or relate to
 5   the issues raised by the movant, which shall follow the format described above for the
 6   moving party's Separate Statement. These additional facts shall follow the movant's
 7   facts, shall continue in sequentially numbered paragraphs (i.e. if movant’s last statement
 8   of fact was set forth in paragraph 30, then the first new fact will be set forth in paragraph
 9   31), and shall set forth in the right-hand column the evidence that supports that
10   statement.
11         The moving party, in its reply, shall respond to the additional facts in the same
12   manner and format that the opposing party is required to adhere to in responding to the
13   Statement of Uncontroverted Facts, as described above.
14         The following conduct in connection with a motion for summary judgment
15   shall be grounds for sanctions under Federal Rule of Civil Procedure 11: (1)
16   disputing a material fact without any reasonable basis for doing so; (2) identifying
17   additional facts in opposition to the motion without any reasonable basis for
18   believing that the additional facts will materially affect the outcome of the motion.
19                (ii)   Supporting Evidence
20         No party should submit any evidence other than the specific items of evidence or
21   testimony necessary to support or controvert a proposed statement of undisputed fact.
22   Thus, for example, the entire transcripts of depositions and/or entire sets of
23   interrogatory responses should generally not be submitted in support of or in opposition
24   to a motion for summary judgment.
25         Evidence submitted in support of or in opposition to a motion for summary
26   judgment should be submitted either by way of stipulation or as exhibits to a declaration
27   sufficient to authenticate the proffered evidence, and should not be attached to the
28   memorandum of points and authorities. The Court will accept counsel’s authentication




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 1   of deposition transcripts, written discovery responses, and the receipt of documents in
 2   discovery if the fact that the document was in the opponent's possession is of
 3   independent significance. Documentary evidence as to which there is no stipulation
 4   regarding foundation must be accompanied by the testimony, either by declaration or
 5   properly authenticated deposition transcript, of a witness who can establish its
 6   authenticity.
 7         All evidence in support of or in opposition to a motion for summary judgment,
 8   including declarations and exhibits to declarations, shall be separated by a tab divider
 9   on the bottom of the page. If evidence in support of or in opposition to a motion for
10   summary judgment exceeds twenty pages, the evidence must be in a separately bound
11   volume and include a Table of Contents. If the supporting evidence exceeds fifty pages,
12   the documents shall be placed in a Slant D-Ring binder with each item of evidence
13   separated by a tab divider on the right side.          All documents contained in the binder
14   should be three-hole-punched.
15                   (iii)   Objections to Evidence
16         If a party disputes a fact based in whole or in part on an evidentiary objection,
17   the ground for the objection, as indicated above, should be stated in the Separate
18   Statement, but not argued in that document. Evidentiary objections should be addressed
19   in a separate memorandum to be filed with the opposition or reply brief of the party.
20   This memorandum should be organized to track the paragraph numbers of the
21   Separate Statement in sequence. It should identify the specific item of evidence to
22   which objection is made, the ground for the objection, and a very brief argument with
23   citation to authority as to why the objection is well taken. The following is an example
24   of the format contemplated by the Court:
25         Separate Statement Paragraph 1:                Objection to the supporting deposition
26   transcript of Jane Smith at 60:1-10 on the grounds that the statement constitutes
27   inadmissible hearsay and no exception is applicable. To the extent it is offered to prove
28   her state of mind, it is irrelevant since her state of mind is not in issue. Fed. R. Evid.




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 1   801, 802.
 2         DO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO
 3   THE OPPONENT’S STATEMENTS OF UNDISPUTED FACT. THESE WILL
 4   BE DISREGARDED AND OVERRULED.
 5                (iv)   Memorandum of Points and Authorities
 6         The movant’s memorandum of points and authorities should be in the usual form
 7   required under Local Rule 7 and should contain a narrative statement of facts as to those
 8   aspects of the case that are before the Court. All facts should be supported with citations
 9   to the paragraph number in the Separate Statement that supports the factual assertion.
10         Unless the case involves some unusual twist, the motion need only contain a brief
11   statement of the Federal Rule of Civil Procedure 56 standard; the Court is familiar with
12   the Rule and with its interpretation under Celotex and its progeny. If at all possible, the
13   argument should be organized to focus on the pertinent elements of the claim(s) for
14   relief or defense(s) in issue, with the purpose of showing the existence or non-existence
15   of a genuine issue of material fact for trial on that element of the claim or defense.
16         Likewise, the opposition memorandum of points and authorities should be in the
17   usual form required by Local Rule 7. Where the opposition memorandum sets forth
18   facts, the memorandum should cite to paragraphs in the Separate Statement if they are
19   not in dispute, to the evidence that contravenes the fact where the fact is in dispute, or,
20   if the fact is contravened by an additional fact in the Statement of Genuine Issues of
21   Material Fact, the citation should be to such fact by paragraph number.
22                g.     Avoid Composite Motions: Unless clearly justified under the
23   circumstances of the case, “motions to dismiss or in the alternative for summary
24   adjudication” are discouraged. These composite motions tend to blur the distinctions
25   between the two motions.
26                h.     Motions in Limine: Before filing any motion in limine, counsel for
27   the parties shall confer pursuant to Local Rule 7-3 in a good faith effort to eliminate the
28   necessity for hearing the motion in limine or to eliminate as many of the disputes as




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 1   possible. It shall be the responsibility of counsel for the moving party to arrange for
 2   this conference. The motion papers must include a declaration showing a good faith
 3   meet and confer effort. The conference shall take place in person within 10 calendar
 4   days of service upon opposing counsel of a letter requesting such a conference, but in
 5   no event later than twenty-one days before the Pre-Trial Conference. The conference
 6   may take place by telephone only if both counsel are not located in the same county in
 7   the Central District.
 8         If counsel are unable to resolve their differences, they shall prepare a separate,
 9   sequentially-numbered Motion in Limine for each issue in dispute which contains a
10   clear caption that identifies the moving party and the nature of the dispute (i.e.,
11   “Plaintiff's Motion in Limine #1 to exclude the testimony of Defendant's expert”).
12   Neither party may file more than five (5) Motions in Limine absent leave of Court
13   upon a showing of good cause, and leave of Court will be granted sparingly. Each
14   Motion in Limine shall contain a clear identification of the testimony, exhibits, or other
15   specific matters alleged to be inadmissible and/or prejudicial and a statement of the
16   specific prejudice that will be suffered by the moving party if the motion is not granted.
17   The identification of the matters in dispute shall be followed by the moving party's
18   contentions and memorandum of points and authorities. The title page of the Motion
19   in Limine must state the Pre-Trial Conference date, hearing date for the motions in
20   limine, and the trial date.
21         Motions in Limine made for the purpose of precluding the mention or display of
22   inadmissible and/or prejudicial matter in the presence of the jury shall be accompanied
23   by a declaration that includes the following: (1) a clear identification of the specific
24   matter alleged to be inadmissible and/or prejudicial; (2) a representation to the Court
25   that the subject of the motion in limine has been discussed with opposing counsel, and
26   that opposing counsel has either indicated that such matter will be mentioned or
27   displayed in the presence of the jury before it is admitted in evidence or that counsel
28   has refused to stipulate that such matter will not be mentioned or displayed in the




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 1   presence of the jury unless and until it is admitted in evidence; and (3) a statement of
 2   the specific prejudice that will be suffered by the moving party if the motion in limine
 3   is not granted. A motion to bifurcate trial may be filed as a motion in limine.
 4         All evidence in support of or in opposition to a motion in limine, including
 5   declarations and exhibits to declarations, shall be separated by a tab divider on the
 6   bottom of the page. If evidence in support of or in opposition to a motion in limine
 7   exceeds twenty pages, the evidence must be in a separately bound volume and include
 8   a Table of Contents. Though strongly discouraged, if by necessity the supporting
 9   evidence exceeds fifty pages, the documents shall be placed in a Slant D-Ring binder
10   with each item of evidence separated by a tab divider on the right side. All documents
11   contained in the binder should be three-hole-punched.
12         Unless otherwise ordered by the Court, motions in limine will be heard on the
13   date specified on the last page of this Order. The moving party shall file with the Court
14   and serve its Motion in Limine on the responding party on or before the date for filing
15   of motions in limine indicated in the Schedule of Trial and Pre-trial Dates. The
16   responding party shall then file with the Court and serve an opposition to the Motion in
17   Limine on the moving party at least seven (7) days prior to the date for the hearing on
18   motions in limine. Neither party’s submissions with respect to a Motion in Limine
19   shall exceed eight (8) pages. Unless ordered otherwise, the Court will only consider
20   the moving papers and any opposition thereto; no replies are necessary or invited.
21                i.    Motions for Class Certification: All motions for class certification
22   must be filed according to Local Rule 23-3. The Court will rarely grant stipulations or
23   applications to extend that deadline.      Specifically, the failure to complete class
24   discovery before the deadline does not constitute good cause to extend the deadline,
25   unless the parties show specific and concrete reasons why, despite their diligence, the
26   failure to complete discovery was unavoidable. The Court will consider extensions
27   based on the ordering of issues (e.g., if the defendant seeks to file a dispositive motion
28   before class certification) on a case-by-case basis. Any stipulations or applications for




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 1   relief must include a specific date by which the plaintiff will move for class certification
 2   (the Court will not grant an open-ended extension).
 3                  j.      Oral Argument: The Court, in its discretion, may dispense with
 4   oral argument on a motion. Fed. R. Civ. P. 78(b); C.D. Cal. L.R. 7-15. However, the
 5   Court also encourages law firms to contribute to the professional development of new
 6   attorneys by allowing them to present oral argument to the Court on motions. To that
 7   end, if any party to a motion files a notice with the Court stating that an attorney with
 8   less than four years’ experience will present oral argument, the Court will hold a
 9   hearing on that motion. This notice must be filed no later than fourteen days before
10   the hearing.        The Court will take into account the attorney’s inexperience when
11   considering their oral arguments.
12         7.       Final Pre-Trial Conferences and Local Rule 16 Filings
13         Please read this portion carefully, as there are some differences between the
14   Court’s requirements and the Local Rules.
15                  a.      General Provisions
16         The Final Pre-Trial Conference (“PTC”) will be held on the date specified on the
17   last page of this Order, unless the Court expressly waived the PTC at the Scheduling
18   Conference. (In the rare cases where the Court waives a PTC, the parties must follow
19   Local Rule 16-10.) If adjustments in the Court’s calendar to accommodate congestion
20   become necessary, the Court may re-schedule the PTC instead of the trial date.
21   Therefore, the parties should assume that if the PTC goes forward, the trial will go
22   forward without continuance, although some brief period of trailing may prove
23   necessary.
24         The lead trial attorney on behalf of each party shall attend both the PTC and all
25   meetings of the parties in preparation for the PTC, unless excused for good cause shown
26   in advance of the PTC.
27         A continuance of the PTC at the parties' request or by stipulation is highly
28   unlikely.    Specifically, failure to complete discovery is not a ground for




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 1   continuance. In the unlikely event that the Court agrees to continue the PTC, the trial
 2   date is likely to be delayed as a result. If a change to the trial date is necessitated or
 3   likely because of the Court's calendar or otherwise, modifications of that date will be
 4   discussed at the PTC.
 5         At the PTC, the parties should be prepared to discuss means of streamlining the
 6   trial, including, but not limited to the following: bifurcation; presentation of
 7   foundational and non-critical testimony and direct testimony by deposition excerpts;
 8   narrative summaries and/or stipulations as to the content of testimony; presentation of
 9   testimony on direct examination by affidavit or by declaration subject to cross-
10   examination; and qualification of experts by admitted resumes. The Court will also
11   discuss settlement.
12                b.       Courtesy Copies
13         As with other documents filed with the Court, the parties must submit courtesy
14   copies of all PTC documents. However, the courtesy copies must be delivered to
15   chambers as follows:
16                (i)      One copy of all PTC documents (i.e., both plaintiff's documents and
17                         defendant's documents) shall be delivered to the Court in one 3-ring
18                         binder;
19                (ii)     Each document shall be separated by numerical side-tabs, and shall
20                         be placed in the following order: (1) Proposed Pretrial Conference
21                         Order; (2) Plaintiff’s Memorandum and Contentions of Facts and
22                         Law; (3) Defendant’s Memorandum and Contentions of Facts and
23                         Law; (4) Joint Witness List; (5) Joint Exhibit List and Stipulation;
24                         (6) Plaintiff’s Proposed Verdict Form; (7) Defendant’s Proposed
25                         Verdict Form; (8) Joint Proposed Jury Instructions; (9) Plaintiff's
26                         Disputed Jury Instructions; (10) Defendant’s Disputed Jury
27                         Instructions; (11) Joint Statement of the Case; (12) Proposed Voir
28                         Dire Questions; (13) Joint Report re: Settlement; and (14) Other




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 1                        pretrial documents; and
 2                (iii)   The binder shall include a table of contents.
 3                c.      Final Pre-Trial Conference Order (“PTCO”)
 4         The proposed PTCO shall be lodged seven calendar days before the PTC, unless
 5   the Court specifically orders otherwise. Adherence to this time requirement is necessary
 6   for in-chambers preparation of the matter. The form of the proposed PTCO shall
 7   comply with Appendix A to the Local Rules and the following:
 8                (i)     Place in “ALL CAPS AND BOLD” the separately numbered
 9                        headings for each category in the PTCO (e.g., “1. THE PARTIES”
10                        or “7. CLAIMS AND DEFENSES OF THE PARTIES”).
11                (ii)    Include a table of contents at the beginning.
12                (iii)   In specifying the surviving pleadings under section 1, state which
13                        claims or counter claims have been dismissed or abandoned, e.g.,
14                        “Plaintiff’s second cause of action for breach of fiduciary duty has
15                        been dismissed.” Also, in multiple party cases where not all claims
16                        or counterclaims will be prosecuted against all remaining parties on
17                        the opposing side, please specify to which party each claim or
18                        counterclaim is directed.
19                (iv)    In specifying the parties’ claims and defenses under section 7, each
20                        party shall closely follow the examples set forth in Appendix A of
21                        the Local Rules.
22                (v)     In drafting the PTCO, the court expects that the parties will
23                        attempt to agree on and set forth as many non-contested facts as
24                        possible. The court will usually read the uncontested facts to the
25                        jury at the start of trial. A carefully drafted and comprehensively
26                        stated stipulation of facts will reduce the length of trial and increase
27                        jury understanding of the case. It is unacceptable for the parties
28                        to indicate in the Proposed Pretrial Conference Order that they




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 1                       are not able to stipulate to any facts whatever.
 2                (vi)   In drafting the factual issues in dispute for the PTCO, the parties
 3                       should attempt to state issues in ultimate fact form, not in the form
 4                       of evidentiary fact issues. The issues of fact should track the
 5                       elements of a claim or defense on which the jury will be required to
 6                       make findings.
 7                (vii) Issues of law should state legal issues on which the court will be
 8                       required to rule during the trial, and should not list ultimate fact
 9                       issues to be submitted to the trier of fact.
10                (viii) The Court may submit fact issues to the jury in the form of findings
11                       on a special verdict. The issues of fact should track the elements of
12                       a claim or defense on which the jury will be required to make
13                       findings.
14                (ix)   If expert witnesses are to be called at trial, each party must list and
15                       identify its respective expert witnesses, both retained and non-
16                       retained. Failure of a party to list and identify an expert witness in
17                       the PTCO could result in a court order which precludes the party
18                       from calling that expert witness at trial.
19                (x)    The parties shall submit only ONE proposed PTCO.                 It is
20                       unacceptable to submit multiple or competing proposed
21                       PTCOs. See Local Rule 16-7.
22                d.     Rule 16 Filings; Memoranda; Witness Lists; Exhibit Lists
23         Unless otherwise indicated, the parties must comply fully with the requirements
24   of Local Rule 16. See the last page of this Order for applicable dates.
25         Memoranda and Contentions of Fact and Law
26         Memoranda of Contentions of Fact and Law shall be filed by the date listed in
27   this Scheduling Order, and shall comply with the requirements set forth in Local Rule
28   16-4. The parties are strongly encouraged to submit one joint Memorandum where




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 1   possible.
 2         Joint Witness List
 3         Counsel shall prepare a joint list of their witnesses, including a brief summary
 4   (two to three paragraphs) of each witness’s expected testimony, what makes the
 5   testimony unique from any other witness testimony, an estimate of the length of time
 6   needed for direct examination of each side’s own witnesses and an estimate for the cross
 7   examination of opposing witnesses, and whether the witness will testify by deposition
 8   or in person. The joint witness list shall be filed at the same time counsel lodge the
 9   PTCO. If a party intends to offer deposition testimony into evidence at trial, the party
10   shall designate the relevant portions of the deposition testimony to be read at trial and
11   advise opposing counsel of same. Opposing counsel shall then designate any additional
12   portions of such deposition testimony which counsel intends to offer in evidence. All
13   objections to any such testimony shall be made in writing and filed at the same time
14   counsel lodge the PTCO so that the Court may consider whether ruling on the objections
15   will facilitate trial or result in the disposition of evidentiary matters that may assist
16   continuing settlement negotiations.
17         If expert witnesses are to be called at trial, each party shall list and identify their
18   respective expert witnesses. Failure of a party to list and identify an expert witness may
19   preclude a party from calling that expert witness at trial. If expert witnesses are to be
20   called at trial, the parties shall exchange at the PTC short narrative statements of the
21   qualifications of the expert and the testimony expected to be elicited at trial. Previously
22   prepared and exchanged expert reports shall not substitute for the narrative statements
23   required.
24         On the first day of trial, the parties must lodge with the Court three (3)
25   copies of the witness list, which shall include the names of the witness in the
26   approximate order in which they may be called to testify.
27         Joint Exhibit List and Exhibit Stipulation
28         The parties shall prepare a joint Pre-Trial Exhibit Stipulation that shall contain




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 1   each party's numbered list of all trial exhibits, with objections, if any, to each exhibit
 2   including the basis of the objection and the offering party's response. All exhibits to
 3   which there is no objection shall be deemed admitted. The parties shall stipulate to the
 4   authenticity of exhibits whenever possible, and the Pre-Trial Exhibit Stipulation shall
 5   identify any exhibits for which authenticity has not been stipulated to and the specific
 6   reasons for the party's failure to stipulate.
 7         The Stipulation shall be substantially in the following form:
 8
 9                                 Pre-Trial Exhibit Stipulation
10   Plaintiff(s)’/Defendant(s)’ Exhibits
11   Number       Description       If Objection, State Grounds         Response to Objection
12
13         The Pre-Trial Exhibit Stipulation shall be filed at the same time counsel lodge
14   the proposed PTCO. Failure to comply with this paragraph could be deemed to
15   constitute a waiver of all objections. Do not submit blanket or boilerplate objections
16   to the opposing party’s exhibits. These will be disregarded and overruled. NOTE:
17   Counsel are instructed not to bring excessive exhibits to trial, but only those exhibits
18   that are reasonably expected to actually be used.
19         All counsel are to meet not later than ten (10) days before trial and to stipulate so
20   far as is possible as to authenticity, foundation, waiver of the best evidence rule, and to
21   those exhibits which may be received into evidence at the start of trial. The exhibits to
22   be so received will be noted on the copies of the exhibit lists.
23         In addition, the parties should submit three copies of the final exhibit list to
24   the Court Clerk on the first day of trial.
25         Jury Instructions/Special Verdict Forms
26         The parties shall make every attempt to agree upon the jury instructions before
27   submitting them to the Court. It is expected that counsel will agree on the substantial
28   majority of jury instructions. This is in addition to the standard cautionary and




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 1   introductory instructions regarding duties of the jury, the order of the trial, etc. found in
 2   Chapters 1, 2 & 3 of the 9th Circuit Manual of Model Jury Instructions. The court
 3   requires little or no assistance in the preparation of these instructions. Counsel's
 4   attention should be focused on reaching agreement on the instructions covering the
 5   substantive legal issues. It is anticipated that working diligently and cooperatively
 6   counsel will be able to reach agreement on the vast majority of the substantive
 7   instructions. Judicial involvement will be limited to resolving disputes on only a
 8   few instructions on which the parties are unable to agree.
 9         On the date listed in this Scheduling Order, counsel shall file with the Court a
10   JOINT set of jury instructions on which there is agreement. Defendant’s counsel has
11   the burden of preparing the joint set of jury instructions. At the same time, each party
12   shall file its proposed jury instructions which are objected to by any other party,
13   accompanied by points and authorities in support of those instructions.
14         When the parties disagree on an instruction, the party opposing the instruction
15   must attach a short statement (one to two paragraphs) supporting the objection, and the
16   party submitting the instruction must attach a short reply supporting the instruction.
17   Each statement should be on a separate page and should follow directly after the
18   disputed instruction.
19         The parties ultimately must submit one document, or if the parties disagree over
20   any proposed jury instructions, three documents. The three documents shall consist of:
21   (1) a set of Joint Proposed Jury Instructions; (2) Plaintiff’s Disputed Jury Instructions;
22   and (3) Defendant’s Disputed Jury Instructions. Any disputed Jury Instructions shall
23   include the reasons supporting and opposing each disputed instruction in the format set
24   forth in the previous paragraph.
25         The parties are encouraged to consider whether the Court should give
26   preliminary instructions to the jury on the substantive issues they will be called
27   upon to decide. Should the parties elect to give preliminary instructions, those
28   substantive instructions should be produced to the Court on the first day of trial.




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 1         The Court directs counsel to use the instructions from the Manual of Model Jury
 2   Instructions for the Ninth Circuit where applicable. Where California law is to be
 3   applied and the above instructions are not applicable, the Court prefers counsel to use
 4   the California Jury Instructions in CACI. If none of these sources is applicable, counsel
 5   are directed to use the instructions in Devitt, Blackmar and Wolff, Federal Jury Practice
 6   and Instructions. Modifications of instructions from the foregoing sources (or any other
 7   form instructions) must specifically state the modification made to the original form
 8   instruction and the authority supporting the modification. The Court will consider
 9   special jury instructions not derived from these sources only in exceptional
10   circumstances.
11         Each requested instruction shall be in the format specified by Local Rule 51-2
12   and shall be set forth in full; be on a separate page with the caption "COURT’S
13   INSTRUCTION NUMBER ___”; be numbered; cover only one subject or principle of
14   law; not repeat principles of law contained in any other requested instructions; and cite
15   the authority for a source of the requested instruction. In addition to the foregoing, each
16   party shall file with the Courtroom Deputy Clerk (CRD) on the first day of trial a “clean
17   set” of the aforesaid requested duplicate jury instructions. The “clean set” shall not cite
18   the authority for a source of the requested instruction.
19         An index page shall accompany all jury instructions submitted to the Court. The
20   index page shall indicate the following:
21             • the number of the instruction;
22             • a brief title of the instruction;
23             • the source of the instruction and any relevant case citation; and
24             • the page number of the instruction.
25
26   EXAMPLE:
27   NO.          TITLE                                   SOURCE               PAGE NO.
28   5            Evidence for Limited Purpose            9th Cir. 1.5         9




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 1
 2         During the trial and again before argument, the Court will meet with counsel and
 3   settle the instructions. Strict adherence to time requirements is necessary for the Court
 4   to examine the submissions in advance so that there will be no delay in starting the jury
 5   trial, or the final instructions to the jury and the closing arguments of counsel. Failure
 6   of counsel to strictly follow the provisions of this section may subject the non-
 7   complying party and/or its attorney to sanctions and SHALL CONSTITUTE A
 8   WAIVER OF JURY TRIAL in all civil cases.
 9         Joint Statement of the Case and Requests for Voir Dire
10         At the PTC, the parties shall file their proposed voir dire questions and their joint
11   Statement of the Case which the Court will read to all prospective jurors prior to the
12   commencement of voir dire. The statement should not be longer than two or three
13   paragraphs, and contain no argument nor an excessive amount of information. The
14   Statement of the Case is merely to advise the prospective jurors of the general nature of
15   the case, i.e. securities law violations, bank robbery, copyright infringement, etc.
16         The Court conducts voir dire of all prospective jurors. The parties need not
17   submit requests for standard voir dire questions such as education, current occupations,
18   marital status, prior jury service, etc., but should include only proposed questions
19   specifically tailored to the parties and issues of the case.
20         Trial Exhibits
21         Counsel must deliver two sets of exhibits to the Court Clerk (one for witnesses
22   and one for the Judge) on the morning of the first day of trial as follows:
23                (i)    Judge’s Copy: Counsel are to prepare the Judge’s copy of the
24                       exhibits by placing them in 3-ring binders. The holes are to be 3/8"
25                       in diameter. The notebooks are to be tabbed down the right side with
26                       numeric tabs separating each exhibit.
27                (ii)   Witnesses’ Copy: Counsel are to prepare the Witnesses’ copy of the
28                       exhibits by placing each exhibit in its own separate manilla folder.




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 1                        Each manilla folder should have a tab on the right side with the
 2                        exhibit number written on it. The manilla folders should be put in a
 3                        box in numerical order, with the tabs facing upward. The exhibits
 4                        used in this folder should be the original exhibits, and should be
 5                        tagged with Court-approved tags. Court-approved exhibit tags can
 6                        be obtained from the window on the 4th Floor of the U.S Courthouse,
 7                        Los Angeles, CA 90012.
 8         The exhibits are to be numbered sequentially, with Plaintiff’s exhibits numbered
 9   1, 2, 3, etc. and Defendant’s exhibits numbered 1000, 1001, 1002, etc. Exhibit
10   numbering must further comply with Local Rule 26-3.
11         Deposition Transcripts
12         The complete original transcript of any depositions to be used at trial shall be
13   lodged with the Court on the first day of trial.
14         First Day of Trial
15         The Court requires that the following be submitted to the Courtroom Deputy
16   Clerk on the first day of trial (which is in addition to any other documents referenced
17   above):
18                (i)     Judge’s copy of exhibits (as described above).
19                (ii)    Witnesses’ copy of exhibits (as described above).
20                (iii)   Any preliminary instructions the parties have agreed may be read to
21                        the jury before the presentation of evidence.
22                (iv)    Three (3) copies of the exhibit list.
23                (v)     Three (3) copies of the witness list, which shall include the names
24                        of the witness in the approximate order in which they may be called
25                        to testify.
26         All counsel are to meet not later than ten (10) days before trial and to stipulate so
27   far as possible as to foundation, waiver of the best evidence rule, and to those exhibits
28   which may be received into evidence at the start of trial. The exhibits so received will




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 1   be noted on the copies of the exhibit lists.
 2         Any items that have not been admitted into evidence and are left in the
 3   courtroom overnight without prior approval will be discarded.
 4         Real-Time Reporting Requirement
 5         Each party must file with the Court, at the same time counsel lodges the PTCO,
 6   a document for the Court Reporter that contains proper names, unusual or scientific
 7   terms, or any other foreign or uncommon words that are likely to be used by the parties
 8   during the PTC and the Trial.
 9         8.     Settlement
10         This Court will not conduct settlement conferences in non-jury cases unless
11   counsel for all parties and their respective clients agree either in writing or on the record.
12   In jury cases, the Court will conduct a settlement conference at the parties’ joint request
13   if three conditions exist:
14                (a)    The parties are satisfied that the fact issues in the case will be tried
15                       by a jury;
16                (b)    All significant pre-trial rulings which the Court must make have
17                       been made; and
18                (c)    The parties desire the Court to conduct the conference,
19                       understanding that if settlement fails, the Court will preside over
20                       trial of the case.
21         The parties must file a Status Report regarding settlement at the time they lodge
22   the proposed PTCO. This Report shall not disclose the parties' settlement positions, i.e.
23   the terms of any offers or demands. It shall merely describe the efforts made by the
24   parties to resolve the dispute informally, i.e. the occasions and dates when the parties
25   participated in mediation or settlement conferences. The Status Report shall also
26   include the name and phone number of the Settlement Officer who assisted the parties
27   with their settlement conference.
28         Caveat: If counsel fail to file the required Pre-Trial documents or fail to




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 1   appear at the Pre-Trial Conference and such failure is not otherwise satisfactorily
 2   explained to the Court: (a) the cause shall stand dismissed for failure to prosecute
 3   if such failure occurs on the part of the plaintiff; (b) default judgment shall be
 4   entered if such failure occurs on the part of the defendant; or (c) the Court may
 5   take such action as it deems appropriate.
 6
 7         IT IS SO ORDERED.
 8
 9
10
11         December 2, 2019        ____________________________________
12                                       OTIS D. WRIGHT, II
                                  UNITED STATES DISTRICT JUDGE
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                                   U.S. District Judge Otis D. Wright, II
                                   Schedule of Trial and Pretrial Dates
       CASE NO.:                    CV        19-4755



       PARTIES:                          Pacific Packing Concepts, Inc.
                                               -v-
                                         Nutrisystem Inc. et al.

       COMPLAINT FILED:                       05/31/19

       Estimated Length of Trial:            5-7 days

       TRIAL TYPE:                              Jury

       SETTLEMENT CHOICE:
       Magistrate Judge
       Court Mediation Panel
       Outside ADR


           DATE                              MATTER

          02/09/21                       Trial at 9:00 a.m.

          02/04/21                       Deadline to File:
                                         Final Trial Exhibit Stipulation

          02/01/21                       Hearing on Motions in Limine at 1:30 p.m.

          01/25/21                       Deadline to File:
                                         Oppositions to Motions in Limine

          01/11/21                       Final Pretrial Conference at 1:30 p.m.
                                         Deadline to File:
                                         Motions in Limine

          01/04/21                       Deadline to File:
                                         Proposed Pretrial Conference Order
                                         Memoranda and Contentions of Fact and Law
                                         Joint Witness List
                                         Joint Exhibit List and Exhibit Stipulation
                                         Proposed Verdict Form(s)
                                         Proposed Jury Instructions / Disputed Jury Instructions
                                         Proposed Voir Dire Questions
                                         Joint Statement of the Case
                                         Joint Status Report re: Settlement

          12/21/20                       Deadline for Hearing Motions*

          12/14/20                       Deadline to Conduct Settlement Conference

          11/09/20                       Expert Discovery Cutoff

          10/26/20                       Percipient/Fact Discovery Cutoff

          12/14/20                       Deadline to Hear Motion to Amend Pleadings or Add Parties
                                         (must comply with FRCP 15(a)(2))
                      * This does not apply to motions for class certification, which must be filed
                      in accordance with Local Rule 23-3 unless expressly waived by Court order.
